              Case 8:23-cr-00434-BAH Document 23 Filed 04/05/24 Page 1 of 1



                                                          U.S. Department of Justice
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                                                          April 5, 2024
VIA ECF

The Honorable Brendan A. Hurson
United States District Court for the District of Maryland
101 West Lombard Street
Baltimore, Maryland 21201

           Re:        Joint Status Report - United States v. Josue Arrue Paniagua
                      Crim. No. BAH-23-00434

Dear Judge Hurson:

        Pursuant to the Court’s April 2, 2024 Order (ECF 22), we write to provide the Court with
a status update in the above-referenced matter. We have discussed this matter with defense counsel
and the parties ask that the Court to schedule a further status report on April 26, 2024. We
anticipate that Mr. Arrue Paniagua will appear in the near future on a broader case. Assuming that
happens in relatively short order, the Government anticipates asking the Court to dismiss this
matter.

           Of course, please do not hesitate to contact us with any questions or concerns.

                                                   Respectfully submitted,

                                                   Erek L. Barron
                                                   United States Attorney

                                            By:           /s/
                                                   Kenneth S. Clark
                                                   Anatoly Smolkin
                                                   Assistant United States Attorneys

cc: Julie Reamy, Esq. (via ECF and email)



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